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AO 245B (CASDRev. 08113) Judgment in a Criminal Case

                                                                                                               JUL 3 1 2015
                                      UNITED STATES DISTRICT COD T
                                                                                                       CLERK, U.S. DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA                            SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                     BY.               tJ...C.c.- DEPUTY
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRffiftNA."I:CA'SE'-·-
                                 v.                                 (For Offenses Committed On or After November 1, 1987)
                    RYAN JOHNSON (2)
                                                                       Case Number:         14CR3512-DMS

                                                                    LISA KAY BAUGHMAN
                                                                    Defendant's Attorney
REGISTRATION NO.                 42771298

0-
THE DEFENDANT:
IZl pleaded guilty to count(s)         1 of the Information

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is a(ljudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                   Nature of Offense                                                                 Numberfs)
18 USC 2252(a)( 4)                POSSESSION OF IMAGES OF MINORS ENGAGED IN                                             1
                                  SEXUALLY EXPLICIT CONDUCT




    The defendant is sentenced as provided in pages 2 through                 5            ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                    is          dismissed on the motion ofthe United States.

      Assessment: $100.00.
IZl


IZl No fine                  0 Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notity the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    July 31. 2015
                                                                    Date OfIm     S;;::4lJ
                                                                                  p



                                                                    HON. DANA M. SABRA W
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                  14CR3512-DMS
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 SIXTY (60) MONTHS.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:
       Defendant participate in the RDAP program.
       Defendant be designated to Seagoville, TX




 o     The defendant is remanded to the custody of the United States Marshal.

 IZI   The defendant shall surrender to the U.S. Pretrial Services for this district:
       IZI   at  Or before NOON        A.M.                  on AUGUST 28, 2015
            -----------------
       o as notified by the United States Marshal.
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

 I have executed this judgment as follows:

       Defendant delivered on   ___________________________ to

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL


                                                                                                     14CR3512-DMS
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TEN (10) YEARS.



     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, ifapplicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted ofa qualifying offense. (Check ifapplicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the comt or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notifY the probation officer within seventYMtwo hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confinn the defendant's compliance
         with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

1.     Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow of reciprocal release of information between
       the probation officer and the treatment provider. May be required to contribute to the costs of services
       rendered in an amount to be determined by the probation officer, based on ability to pay.

2.     Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

3.     Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or
       data storage devices or media, and effects to search at any time, with or without a warrant, by any law
       enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
       probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
       duties. 18 U.S.C. 3563(b)(23) ; 3583(d)(3)

4.     Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are
       imposed by the court.

5.     Not use or possess devices which can communicate data via modem or dedicated connection and may not
       have access to the Internet without prior approval from the court or the probation officer. The offender
       shall consent to the installation of systems that will enable the probation officer to monitor computer use
       on any computer owned or controlled by the offender. The offender shall pay for the cost of installation
       of the computer software.

6.     Not associate with, or have any contact with any known sex offenders unless in an approved treatment
       andlor counseling setting.

7.    Not have unsupervised contact with any child under the age of 18, not his own, unless in the presence of
      a supervising adult (who is aware of the defendant's deviant sexual behavior and conviction), and with
      the prior approval of the probation officer.

8.    Not accept or commence employment or volunteer activity without prior approval of the probation officer,
      and employment should be subject to continuous review and assessment by the probation officer.

9.    Not loiter within 200 yards of a school, schoolyard, playground, park, amusement centerlpark, public
      swimming pool, arcade, daycare center, carnival, recreation venue, library and other places primarily
      frequented by persons under the age of 18, without prior approval of the probation officer.

10.   Not possess any materials such as videos, magazines, photographs, computer images or other matter that
      depicts "actual sexually explicit conduct" involving children andlor adults, as defined by 18 U.S.C. 2256
      (2); and not patronize any place where such materials or entertainment are available.



III

III

                                                                                                14CR35l2-DMS
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II.    Complete a sex offender evaluation, which may include periodic psychological, physiological testing, and
       completion ofthe ABEL assessment, at the direction of the court or probation officer; and that the offender
       participate and successfully complete an approved state-certified sex offender treatment program,
       including compliance with all lifestyle restrictions and treatment requirements of the program. The
       offender will allow reciprocal release of information between the probation officer and the treatment
       provider. The offender may also be required to contribute to the costs of services rendered in an amount
       to be determined by the probation officer, based on ability to pay.

12.    Reside in a residence approved in advance by the probation officer, and any changes in residence shall be
       pre-approved by the probation officer.




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